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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MAINE

RICHARD ALLEN DIXON, JR.,

              Plaintiff,

      vs.                                              Civil No. 16-00178-NT

DALTON GROEGER,

              Defendant



            ANSWER TO COMPLAINT AND AFFIRMATIVE DEFENSES
                     AND DEMAND FOR JURY TRIAL

      Defendant Dalton Groeger, by and through counsel, hereby responds to the

Plaintiff’s Amended Complaint (Docket Entry No. 4) as follows:

                                    1. Introduction

      1.      The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendant is without sufficient information or knowledge to form a belief as to the

truth of the allegations contained in this paragraph of Plaintiff’s Amended Complaint

and, accordingly, denies same.

                                     2. Jurisdiction

      2.      The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendant is without sufficient information or knowledge to form a belief as to the

truth of the allegations contained in this paragraph of Plaintiff’s Amended Complaint

and, accordingly, denies same.
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                                         3. Parties

       3.     The Defendant admits that the Plaintiff was at one time incarcerated at the

York County Jail. The Defendant is without sufficient information or knowledge to form

a belief as to the truth of the remaining allegations contained in this paragraph of

Plaintiff’s Amended Complaint and, accordingly, denies same.

       4.     The Defendant admits that he is employed as a corrections officer at the

York County Jail. The Defendant is without sufficient information or knowledge to form

a belief as to the truth of the remaining allegations contained in this paragraph of

Plaintiff’s Amended Complaint and, accordingly, denies same.

       5.     The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendant is without sufficient information or knowledge to form a belief as to the

truth of the allegations contained in this paragraph of Plaintiff’s Amended Complaint

and, accordingly, denies same.

                                         4. FACTS

       6.     The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, denies same.

       7.     The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, denies same.

       8.     The Defendant denies the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.




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       9.     The Defendant denies the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

       10.    The Defendant denies the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

       11.    The Defendant denies the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

       12.    The Defendant denies the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

       13.    The Defendant denies the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

       14.    The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, denies same.

       15.    The Defendant admits that on September 8, 2015 he spoke with the

Plaintiff as to why he would make baseless allegations against him. The Defendant is

without sufficient information or knowledge to form a belief as to the truth of the

remaining allegations contained in this paragraph of Plaintiff’s Amended Complaint

and, accordingly, denies same.

       16.    The Defendant admits that the Plaintiff said to the Defendant: “get the f***

out of my cell.” The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the remaining allegations contained in this paragraph of

Plaintiff’s Amended Complaint and, accordingly, denies same.




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       17.    The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, denies same.

       18.    The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, denies same.

                                           5. Relief

       The statements contained in this paragraph of the Plaintiff’s Amended Complaint

do not constitute allegations of fact to which a response is required. Alternatively, the

Defendant is without sufficient information or knowledge to form a belief as to the truth

of the allegations contained in this paragraph of Plaintiff’s Amended Complaint and,

accordingly, denies same.

                                       6. Verification

       The statements contained in this paragraph of the Plaintiff’s Amended Complaint

do not constitute allegations of fact to which a response is required. Alternatively, the

Defendant is without sufficient information or knowledge to form a belief as to the truth

of the allegations contained in this paragraph of Plaintiff’s Amended Complaint and,

accordingly, denies same.

                              AFFIRMATIVE DEFENSES

       1.     The Defendant has at all times acted in good faith and without knowledge

that his conduct violated any clearly established constitutional or statutory rights of the

Plaintiff.

       2.     The Defendant’s conduct did not violate any clearly established

constitutional or statutory rights of the Plaintiff.



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       3.     No reasonable person would have known that the Defendant’s conduct

violated any clearly established constitutional or statutory rights of the Plaintiff.

       4.     To the extent that the Plaintiff endeavors to make a state claim grounded

in tort, the claim is barred by Plaintiff's failure to comply with the notice provisions of

the Maine Tort Claims Act, 14 M.R.S.A. § 8107 and 8108.

       5.     To the extent that the Plaintiff endeavors to make a state claim grounded

in tort, the claim is barred by the personal immunity provisions provided to the

Defendant by the Maine Tort Claims Act, 14 M.R.S.A. § 8111(1)(C), (D) and (E).

       6.     To the extent that the Plaintiff endeavors to make a state claim grounded

in tort, the claim is capped by the Maine Tort Claims Act.

       7.     To the extent that the Plaintiff’s Amended Complaint seeks to impose

liability on the Defendant in his representative capacity, the Amended Complaint fails to

state a claim upon which relief may be granted.

       8.     The Plaintiff’s own conduct was the sole or a contributing cause of any

injuries that he claims in this matter.

       9.     The Plaintiff’s Amended Complaint, in whole or in part, fails to state a

claim upon which relief may be granted.

       10.    The Plaintiff’s claims are barred for the reason that the Defendant is not

liable under a theory of respondeat superior for the actions of his agents or employees.

       11.    The Plaintiff’s claims are barred for the reason that the Defendant’s

conduct does not constitute deliberate indifference or conduct which is shocking to the

conscience.




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       13.      The Plaintiff’s claims are barred for the reason that the allegations in the

Amended Complaint allege simple negligence and the conduct complained of is not the

type contemplated under 42 U.S.C. § 1983.

       14.      The Plaintiff’s claims are barred, in whole or in part, by the doctrine of

immunity.

       15.      The Plaintiff’s claims are barred, in whole or in part, by the doctrine of

qualified immunity.

       16.      To the extent that the Plaintiff seeks injunctive or declaratory relief, he has

no standing.

       18.      The Plaintiff has adequate remedies under State law, and therefore no

action lies under 42 U.S.C. § 1983 in the Maine Constitution or the United States

Constitution.

       19.      The Plaintiff’s Amended Complaint, in whole or in part, fails to state

justiciable claims.

       20.      The Defendant reserves the right to demonstrate that the Plaintiff has

failed to mitigate his damages.

       21.      The Plaintiff’s Amended Complaint is frivolous and should be dismissed

pursuant to 28 U.S.C. § 1915.

       22.      The Plaintiff’s claims are barred, in whole or in part, by the exhaustion of

remedies provisions in 42 U.S.C. § 1997(e). Porter v. Nussle, 534 U.S. 516 (2002).

       23.      The Plaintiff’s claims are barred, in whole or in part, to the extent they are

not based upon physical injury.

       24.      The Plaintiff’s Amended Complaint, in whole or in part, fails to state a

cognizable claim under the Prison Litigation Reform Act.



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       25.    To the extent the Plaintiff’s alleged injuries result from conditions that

pre-existed the events alleged in the Amended Complaint, the Defendant cannot be held

liable for the alleged damages associated with those alleged injuries.

                                    JURY DEMAND

       Pursuant to Local Rule 38 and Federal Rule of Civil Procedure 38(b), the

Defendant requests a trial by jury on all claims and issues properly tried to a jury.

       WHEREFORE, Defendant Dalton Groeger demands judgment in his favor with

regard to all claims of the Plaintiff’s Amended Complaint, including an award of costs

and attorneys’ fees, if appropriate, and such other relief as the Court deems just.

       Dated at Portland, Maine this 18th day of October, 2016.

                                   Attorneys for Defendant Dalton Groeger
                                   MONAGHAN LEAHY, LLP
                                   95 Exchange Street, P.O. Box 7046
                                   Portland, ME 04112-7046
                                   (207) 774-3906

                            BY:    /s/ John J. Wall, III
                                   John J. Wall, III




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                            CERTIFICATE OF SERVICE

       I hereby certify that on October 18, 2016, I electronically filed Answer to
Complaint and Affirmative Defenses and Demand for Jury Trial using the
CM/ECF system, which will effect service on all registered parties of record. In addition,
I hereby certify that I have served a copy of this document on the Plaintiff by first class
mail, postage prepaid, to the following address:

              Richard Dixon, Jr.
              MDOC# 51584
              Maine Correctional Center
              17 Mallison Falls Road
              Windham, ME 04062

       Dated at Portland, Maine this 18th day of October, 2016.

                                   Attorneys for Defendant Dalton Groeger
                                   MONAGHAN LEAHY, LLP
                                   95 Exchange Street, P.O. Box 7046
                                   Portland, ME 04112-7046
                                   (207) 774-3906

                            BY:    /s/ John J. Wall, III
                                   John J. Wall, III




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